AO 247                    Case
                 (02/08) Order    2:03-cr-00391
                               Regarding Motion for SentenceDocument
                                                            Reduction 64     Filed on 03/06/08 in TXSD Page 1 of 1


                                                    United States District Court
                                                              Southern District of Texas
                                                              Holding Session in Corpus Christi

                   United States of America
                              v.
                   JUSTINO RINCON, JR.                                        CASE NUMBER: 2:03CR00391-001
                                                                              USM NUMBER: 31091-179
Date of Previous Judgment:               April 8, 2004                        Christopher Jenkins, AFPD
(Use Date of Last Amended Judgment if Applicable)                             Defendant's Attorney


                        Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
    Upon motion of          the defendant          the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
                 DENIED.                       GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                                               the last judgment issued) of ___________
                                                                            70          months is reduced to _________________________.
                                                                                                             60 months.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    ___________
                            25                                                      Amended Offense Level: ___________
                                                                                                                23
Criminal History Category: ___________
                            III                                                     Criminal History Category: ___________
                                                                                                                III
Previous Guideline Range: ________
                           70      to ________
                                      87       months                               Amended Guideline Range: ________
                                                                                                                60      to ________
                                                                                                                           71       months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
     The reduced sentence is within the amended guideline range.
     The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
     of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
     amended guideline range.
     Other (explain):

III. ADDITIONAL COMMENTS
     See Additional Comments Continued Sheet
Except as provided above, all provisions of the judgment dated ________________________________
                                                                April 8, 2004                   shall remain in effect.
IT IS SO ORDERED.
            March 6, 2008
            ReservedForSignDate                                                ReservedForJudgeSignature
Order Date: March 6, 2008
                                                                              Signature of Judge

                                                                              JANIS GRAHAM JACK
Effective Date:                                                               UNITED STATES DISTRICT JUDGE
                             (if different from order date)                   Name and Title of Judge

                                                                                                                                 JJ | JG/dln
